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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

 REGINALD HEARD                            ) NO. 5:21-CV-00076-EEF-KDM
                                           )
                                           )
 VERSUS                                    ) JUDGE ELIZABETH E. FOOTE
                                           )
                                           )
 AMIN CARTER AND                           ) MAG. JUDGE KAYLA D. MCCLUSKY
 USA TRUCKING, INC.                        )



                    RESPONSE TO SHOW CAUSE ORDER (DOC. 21)

        NOW INTO COURT, through undersigned counsel, comes USA TRUCK, INC., who

 was misidentified in the Complaint (Doc. 1) and elsewhere as “USA Trucking, Inc.,” and who

 responds to this Court’s 2nd Notice Regarding Corporate Disclosure of August 4, 2021 (Doc.

 21).

        Plaintiff, Reginald Heard, filed the captioned Complaint in the United States District

 Court for the Western District of Louisiana against Amin Carter and “USA Trucking, Inc.” on

 January 12, 2021 alleging bodily injury from a motor vehicle accident that occurred in Bossier

 Parish on January 15, 2020. (Doc. 1). A summons was issued on January 14, 2021 to “USA

 Trucking, Inc.” (Doc. 4). On April 6, 2021, Plaintiff filed a Summons Return relative to “USA

 Trucking, Inc.” purporting to show service by United State Postal Service Certified Mail on CT

 Corporation on March 8, 2021. (Doc. 7).

        On July 15, 2021, Defendant, USA TRUCK, INC., filed a Rule 12(b)(4) and 12(b)(5)

 Motion to Dismiss, or, Alternatively, Motion to Quash Service. (Doc. 8). In Defendant’s

 Memorandum in Support of that Motion, USA TRUCK, INC., acknowledges that the alleged

 tortfeasor, Amin Carter, was a USA TRUCK, INC. driver who was involved in a motor vehicle


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 accident with Plaintiff, Reginald Heard, on January 15, 2020. (Doc. 8-1, p. 3). However, as

 stated throughout Defendant’s Motion to Dismiss and Memorandum in Support, Plaintiff

 misidentified USA TRUCK, INC. as “USA Trucking, Inc.” in the Complaint. USA TRUCK,

 INC. does not contest that Plaintiff’s error was a misnomer. However, the manner of service,

 assuming there was any service on “USA Trucking, Inc.,” was improper under Louisiana law

 and the Federal Rules of Civil Procedure. In fact, USA Truck, Inc. did not receive any notice of

 service at all from its Louisiana registered agent, CT Corporation, until July 26, 2021.

        On July 16, 2021, this Court issued a Notice of Corporate Disclosure Statement

 Requirement (Doc. 10.) in which the Court ordered that Defendant file a Corporate Disclosure

 Statement by July 30, 2021. On July 26, 2021, USA TRUCK, INC. filed a Corporate Disclosure

 Statement in advance of the Court’s deadline. (Doc. 19). The Court issued a 2nd Notice

 Regarding Corporate Disclosure on August 4, 2021 (Doc. 21) ordering that “Trent Patrick

 Roddy, counsel for USA Trucking, Inc. file a written response to show cause by 8/18/2021 why

 they should not be subject to further action by the court for failing to comply with the previous

 notice. Counsel may immediately file a corporate disclosure statement in lieu of a response to

 this notice.”   On August 4, 2021, USA TRUCK, INC. filed a Supplemental Corporate

 Disclosure Statement (Doc. 22) clarifying that USA TRUCK, INC. was misidentified in the

 Complaint as “USA Trucking, Inc.” and that the correct legal name of the party sought to be

 made Defendant is USA TRUCK, INC. USA TRUCK, INC. again disclosed that it has no parent

 corporation or other corporation holding stock in USA Truck, Inc.

        Plaintiff has filed a Motion to Extend Service Deadline and to Correct Misnomer (Doc.

 16) and an Opposition to (R. Doc. 8) Defendants’ Motion to Dismiss, Or, Alternatively, Motion




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 To Quash Service (Doc. 18) in which Plaintiff acknowledges that his naming of “USA Trucking,

 Inc.” was a misnomer.

        Fed. R. Civ. P 7.1 requires that a corporate party file a disclosure statement with its first

 appearance. USA TRUCK, INC. was the proper name of the party who employed Amin Carter

 on the date of the alleged subject accident and is the proper name of the party sought to be made

 Defendant in this lawsuit. USA TRUCK, INC. has appeared to file Motion to Dismiss (Doc. 8)

 on July 15, 2021 and, most recently, to file an Answer to Complaint (Doc. 23) on August 16,

 2021. USA TRUCK, INC. has filed two corporate disclosure statements, on July 26, 2021 (Doc.

 19) and on August 4, 2021 (Doc. 22). USA TRUCK, INC. clarified in its most recent Corporate

 Disclosure Statement (Doc. 22) that “USA Trucking, Inc.” is a misnomer.

        To the extent that the Court requires a Corporate Disclosure Statement for a separate

 company called “USA Trucking, Inc.” then undersigned counsel and USA TRUCK, INC. are

 unable to comply. The company “USA Trucking, Inc.” is either a fictitious entity or some other

 unrelated entity who undersigned counsel does not represent and who has never made an

 appearance in this lawsuit.

        Defendant, USA TRUCK, INC. and undersigned counsel, pray that this response be

 found sufficient and that the Court take no action against USA TRUCK, INC. or undersigned

 counsel.

                                                      Respectfully submitted,

                                                      /s/ Trent P. Roddy
                                                      _________________________________
                                                      GUY D. PERRIER, T.A. #20323
                                                      TRENT P. RODDY, #29404
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                                                    ATTORNEYS FOR DEFENDANTS,
                                                    USA TRUCK, INC. AND AMIN CARTER



                                CERTIFICATE OF SERVICE

         I hereby certify that the foregoing pleading has been delivered to all counsel of record,
 either through the CM/ECF system, depositing a copy of same in the United States mail, first
 class postage prepaid, by hand delivery or by facsimile transmission, this 18th day of August,
 2021, at their last known address of record.


                                                             /s/ Trent P. Roddy
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                                                            TRENT P. RODDY




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